                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                                       No. CR12-4083-MWB
               Plaintiff,
 vs.
                                                    ORDER REGARDING
 PAIGE MATHISON,                                DEFENDANT’S PRO SE MOTION
                                                   TO STAY RESTITUTION
               Defendant.
                            ___________________________

                     I.     INTRODUCTION AND BACKGROUND
       This case is before me on defendant Paige Mathison’s pro se motion to stay
restitution (docket no. 485). In her motion, Mathison seeks to have her Inmate Financial
Responsibility Program (“IFRP”) payments suspended until she is released from custody.
The prosecution has filed a timely response to Mathison’s motion in which it argues that,
because Mathison is challenging her scheduled payment plan under the IFRP, she should
have proceeded under 28 U.S.C. § 2241 in the district of her confinement. Mathison has
not filed a reply brief.
       In an Indictment returned on August 30, 2012, Mathison was charged, along with
several co-defendants, with conspiracy to commit a robbery interfering with commerce,
a Hobbs Act offense, in violation of 18 U.S.C. § 1951 (Count 4); aiding and abetting a
robbery interfering with commerce, another Hobbs Act offense, in violation of 18 U.S.C.
§§ 2 and 1951(Count 5); possession of a firearm in furtherance of a robbery and aiding
and abetting that offense, in violation of 18 U.S.C. §§ 2, 921(a)(6), 924(c)(1)(A)(ii) and
(B)(l) (Count 6); and receiving or possessing a short-barreled shotgun and aiding and
abetting that offense, in violation of 18 U.S.C. § 2 and 26 U.S.C. §§ 5845(a), 5861(d),



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and 5871 (Count 7). On June 19, 2013, following a jury trial, Mathison was convicted
on all counts. She was sentenced to 147 months imprisonment and ordered to pay a
special assessment of $400 and $600 in restitution. Interest on the restitution was waived.
In addition, the judgment provides that:
              While incarcerated, she shall make monthly payments in
              accordance with the Bureau of Prison’s Financial
              Responsibility Program. The amount shall not exceed 50% of
              the funds available to her through institution or non-institution
              (community) resources and shall be at least $25 per quarter.
Judgment at 6.
       The prosecution indicates in its resistance to Mathison’s motion that she has paid
$306.83 toward her special assessment and restitution and owes $693.17 on those
obligations. Mathison has not disputed these sums.
       .
                                II.    LEGAL ANALYSIS
       As noted above, Mathison seeks to suspend her scheduled payment amount under
the IFRP. That program is administered by the BOP. However, a challenge to such a
BOP administrative program must be filed under 28 U.S.C. § 2241, and in the district of
incarceration. See Matheny v. Morrison, 307 F.3d 709, 712 (8th Cir. 2002) (holding
that prisoners' challenges against an “IFRP payment schedule” are “correctly framed as
§ 2241 claims brought in the district where the sentence is being carried out”); see also
United States v. Diggs, 578 F.3d 318, 320 (5th Cir. 2009) (holding that defendant’s
challenge to restitution payments under the IFRP had to be brought in a § 2241 petition
after all administrative remedies have been exhausted); McGee v. Martinez, 627 F.3d
933, 937 (3d Cir.2010) (“The IFRP payment schedule and the sanctions imposed for
noncompliance are part of the execution” of defendant's sentence and are therefore within
the “rubric of a § 2241 habeas petition.”); Ihmoud v. Jett, 272 Fed. App’x 525, 526 (7th

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Cir. 2008) (“The IFRP is a means of executing an inmate's sentence, and thus complaints
about the BOP's administration of the program are cognizable under 28 U.S.C. §
2241.”).
      A § 2241 petition must be filed in the judicial district in which the defendant is
currently incarcerated. See Rumsfeld v. Padilla, 542 U.S. 426, 434–35 (2004). Because
Mathison is not incarcerated in Iowa, but Alabama, I have no jurisdiction to review her
claim. Accordingly, Mathison’s pro se motion to stay restitution is denied without
prejudice.
      IT IS SO ORDERED.

      DATED this 3rd day of April, 2015.


                                        ______________________________________
                                        MARK W. BENNETT
                                        U.S. DISTRICT COURT JUDGE
                                        NORTHERN DISTRICT OF IOWA




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